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 7   MARCELLE BANAGA
 8                                UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10

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12                                                         CASE NO.: 2:15-CR-00235-TLN
      UNITED STATES OF AMERICA
13
            PLAINTIFF                                      STIPULATION TO CONTINUE
14                                                         JUDGMENT AND SENTENCING
15                                                         HEARING; ORDER

16     MARCELLE BANAGA
17                     DEFENDANT
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21                                          I.      STIPULATION
22   Defendant Marcelle Banaga by and through his counsel of record and plaintiff United States of

23   America, by and through its counsel of record hereby stipulate as follows:

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            1. By previous order, the judgment and sentencing hearing for Mr. Banaga is currently set for
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     May 3rd, 2018.
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28   STIPULATION TO CONTINUE
     JUDGEMENT AND SENTENCING, ORDER
               Case 2:15-cr-00235-TLN Document 329 Filed 05/01/18 Page 2 of 3


 1           2. By this stipulation, the parties jointly request that the judgment and sentencing hearing in
 2   this matter be continued to July 26th, 2018 at 9:30 a.m., and that the dates for preparation of the

 3   sentencing memoranda be reset based on the sentencing date of July 26th, 2018.

 4
             3. The continuance request is due to a circumstances beyond counsels' control that affect
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     defendant’s availability to be present.
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 8           Dated: 4/30/2018

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                                                                     /s/ Alin D. Cintean
10                                                                   Alin D. Cintean
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13                                                                   /s/ Michael M. Beckwith
                                                                     Michael M. Beckwith
14                                                                   Todd A. Pickles
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28   STIPULATION TO CONTINUE
     JUDGEMENT AND SENTENCING, ORDER
               Case 2:15-cr-00235-TLN Document 329 Filed 05/01/18 Page 3 of 3


 1
                                                      ORDER
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             This matter came before the Court on the parties' stipulation to request a continuance of the
 3
     judgment and sentencing hearing for defendants Marcelle Banaga. For the reasons stated above, and good
 4   cause showing, the Court GRANTS the parties' request and CONTINUES the judgment and sentencing
 5   hearing to July 26th, 2018 at 9:30 a.m. The dates for the preparation of the sentencing memoranda are

 6   RESET based on the sentencing date of July 26th, 2018.

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     IT IS FURTHER ORDERED THAT defendant Banaga shall personally appear on July 26th, 2018 at 9:30
 8
     a.m. in this Court.
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10   IT IS SO FOUND AND ORDERED this 30th day of April, 2018.

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14                                                              Troy L. Nunley
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                                                                United States District Judge

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28   STIPULATION TO CONTINUE
     JUDGEMENT AND SENTENCING, ORDER
